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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

UNITED STATES OF AMERICA §
                                           §
v.                           §                           NO: 6:22-CR-
                                           §             JUDGE
IGOR DEKHTYARCHUK, §
       a/k/a Igor Dehtyarchuk §
       a/k/a “Igor Dekhtiarchuk §
       a/k/a “Floraby §

                                      INDICTMENT

THE UNITED STATES GRAND JURY CHARGES:

                                   General Allegations

      At all times relevant to this Indictment:

       1. Defendant Igor Dekhtyarchuk was a resident of Kamensk-Uralsky in

Sverdlovsk Oblast, Russia.

       2. An “access device     as any card, plate, code, account number, electronic

serial number, mobile identification number, personal identification number, or other

telecommunications service, equipment, or instrument identifier, or other means of


account access, that can be used alone or in conjunction with another access device, to


obtain money, goods, services, or any other thing of value, or that can be used to initiate a

transfer of funds (other than a transfer originated solely by paper instrument). Access

devices included usernames, passwords, answers to recovery questions, cookies, and

other data used to access websites and other electronic communications systems.




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         3. Personally identifiable information ( P ) was a term that refers to

people s names, social security numbers, dates of birth, addresses, phone numbers, bank

account numbers, bank routing numbers, bank account information, and online account

usernames and passwords.


         4. A cookie was a small piece of text sent to a user’s internet browser when


visiting websites that were used to verify the user on future visits to the same website.

Most online financial institutions and retailers use internet cookies to verify return usage.

The account’s website automatically sends a cookie to the user during a successful login,

which is stored by the user’s browser. When the user returns to the website, the cookie

serves as verification that the login attempt is from the same user as the last successful

login.


         5. Telegram was an end-to-end encrypted electronic messaging service that

can be used to transmit text, links, or files electronically in interstate or foreign commerce

between devices such as cellular phones and computers.


         6. Marketplace A was an online cybercriminal marketplace dedicated to the

sale of unlawfully obtained access devices offered without the permission of the actual

owners, including stolen login credentials that enable access to online accounts, such as

accounts provided by financial institutions, online payment providers, and retailers.

Marketplace A specialized in the sale of unlawfully obtained access devices for

compromised Companies A, B, C, D, and E; and credit card accounts, including

providing the data associated with those accounts such as name, home addresses, login




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credentials, and payment card data for the victims, who are the actual owners of those

accounts.


      7. Company A, whose identity is known to the Grand Jury, was an online

payment processing company headquartered in California.

       8. Company B, whose identity is known to the Grand Jury, was an online

auction company headquartered in California.

      9. Company C, whose identity is known to the Grand Jury, was an online

retail company headquartered in California.

       10. Company D, whose identity is known to the Grand Jury, was an online

retail company headquartered in Arkansas.

       11. Company E, whose identity is known to the Grand Jury, was an online

retail company headquartered in Massachusetts.

       12. Dekhtyarchuk was the administrator of Marketplace A and was a Russian

hacker who first appeared in hacker forums in November 2013 under the alias floraby.

Dekhtyarchuk began advertising the sale of compromised account data in Russian-

language hacker forums in April 2018 and opened Marketplace A in May 2018.

Dekhtyarchuk immediately began advertising Marketplace A and the products it sold in

May 2018. As of May 2021, Dekhtyarchuk, through Marketplace A, publicly advertised

that he has sold over 48,000 compromised email accounts, 25,000 compromised

Company B accounts, and 19,000 compromised Company A accounts. Dekhtyarchuk

also prominently advertised the locations of the owners of the compromised accounts,




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including the United States and Australia. Around March 2022, and according to site

statistics, Marketplace A averaged approximately 5,000 daily visitors.

       13. A potential customer who visited Marketplace A to purchase access devices

for compromised accounts could select different products just as in a legitimate web

store. The options included various combinations of Company A, Company B, Company

C, and credit card accounts for the same victim. For example, one option was


 [Company A] + CC/[Company B], meaning the customer could purchase the

information sufficient to unlawfully access the Company A, credit card, and Company B

accounts for the same victim. Some options were broken down by known account

balances, which were sold at different price points.

       14. Dekhtyarchuk also sold the usage, in seven-day rental increments, of a


program called “[Company A] Auth 1.0, which was a downloadable software program

that the customer could use to input the stolen access devices, and using the provided

cookie, to access the compromised Company A accounts.

       15. Once a customer selected an access device to purchase, clicking on the


purchase link brought a customer to a page providing specifics of the selected option.

Marketplace A listings regularly advertised that the sale includes the login cookie, which

is a kind of access device used to access the compromised accounts.


       16. All access devices advertised on Marketplace A were advertised in Russian

rubles. Once a customer completed a transaction by paying through the Marketplace A s

payment screen, Dekhtyarchuk or his associate, sent the customer the access devices via


Telegram text message.

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       17. Beginning in March 2021 and ending in July 2021, the FBI through an

online covert employee (OCE) made thirteen purchases of access devices from

Dekhtyarchuk while accessing Marketplace A from the Eastern District of Texas. Each

purchase varied in number of accounts, ranging from three to twenty accounts, resulting

in access devices purchased for a total of 131 accounts. The OCE received the purchased

access devices via Telegram messenger service shortly after completing each purchase.




                                      COUNT ONE

                                                 Violation: 18 U.S.C. §§ 1343 and 2
                                                 (Wire Fraud and Aiding and Abetting)

       18. The General Allegations section of this indictment is realleged and

incorporated by reference as though fully set forth herein.

       19. Between about May 2018 and at least July 2021, the exact dates being

unknown, in the Eastern District of Texas and elsewhere, the defendant, Igor

Dekhtyarchuk, knowingly devised and intended to devise, and aided and abetted others

in devising, a scheme and artifice to defraud, and for obtaining money and property by

means of materially false and fraudulent pretenses, representations, and promises.

       20. It was the purpose of the scheme and artifice for the defendant to

unlawf lly and unjustly enrich himself by transmitting and causing to be transmitted, by

means of wire communications in interstate and foreign commerce, the writings, signs,

and signals which transmitted, from computers outside the United States to a computer in

the United States; that is, I or Dekhtyarchuk sold and transmitted 131 sets of login


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credentials and other PII related to online accounts provided by Companies A, B, and D

to an FBI online covert employee located in the Easte District of Texas.

        In violation of 18 U.S.C. § 1343.

                                       COUNT TWO

                                                  Violation: 18 U.S.C. §§ 1029(a)(2) and
                                                  (c)(l)(A)(i)
                                                  (Access Device Fraud - Trafficking in
                                                  Unauthorized Access Devices)

        21. The General Allegations section of this indictment is realleged and

incorporated by reference as though fully set forth herein.

        22. Between March 29, 2021 and July 7, 2021, in the Eastern District of Texas

and elsewhere, defendant Igor Dekhtyarchuk, knowingly and with the intent to defraud,

and in a manner affecting interstate and foreign commerce by the use of interstate and

foreign wire transmissions, trafficking one or more unauthorized access devices, that is,


login credentials, including usernames, associated passwords, PII, and cookies for access


to accounts provided by Companies A, B, and D, by possessing with intent to sell and by

selling said access devices, and by such conduct, between July 9, 2020 and July 7, 2021,

in a period of less than one year, obtained anything of value aggregating $1,000.00 or

more.


        All in violation of 18 U.S.C. § 1029(a)(3), (c)(l)(A)(l) and (2).




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                                    COUNT THREE

                                                 Violation: 18 U.S.C. §§ 1029(a)(3) and
                                                 (c)(l)(A)(i)
                                                 (Access Device Fraud - Possession of
                                                 Fifteen or More Counterfeit or
                                                 Unauthorized Access Devices)

       23, The General Allegations section of this indictment is realleged and

incorporated by reference as though fully set forth herein.

       24. Between March 29, 2021 and July 7, 2021, in the Eastern District of Texas

and elsewhere, defendant Igor Dekhtyarchuk, knowingly and with the intent to defraud,

possessed fifteen or more unauthorized access devices, that is, login credentials,

including usernames and associated passwords, for access to online accounts provided by


Companies A, B, and D, said possession affecting interstate and foreign commerce by use

of interstate and foreign wire transmissions.


       All in violation of 18 U.S.C. § 1029(a)(3), (c)(l)(A)(l) and (2).


                                     COUNT FOUR

                                                 Violation: 18 U.S.C. §§ 1029(a)(6) and
                                                 (C)(1)(A)(1)
                                                 (Access Device Fraud - Unauthorized
                                                 Solicitation)

       1. The General Allegations section of this indictment is realleged and

incorporated by reference as though fully set forth herein.

       2. Between March 29, 2021 and July 7, 2021, in the Eastern District of Texas

and elsewhere, defendant I or Dekhtyarchuk, without the authorization of the issuer of

access devices belonging to the customers of Companies A, B, and D, to wit, account

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names, user names, passwords, and cookies used to obtain money, goods, services, or any

other thing of value, knowingly and with the intent to defraud, did aid and abet soliciting

buyers through the Marketplace A platform with the purpose of offering and selling

information regarding said access devices, said conduct affecting interstate and foreign

commerce.


       All in violation of 18 U.S.C. § 1029(a)(6) and (c)(l)(A)(i).


                               COUNTS FIVE - THIRTY

                                                 Violation: 18 U.S.C. §§ 1028A
                                                 (Aggravated Identity Theft)

       32. The General Allegations section of this indictment is realleged and

incorporated by reference as though fully set forth herein.

       33. On or about the dates specified as to each count below, in the Eastern

District of Texas and elsewhere, the defendant Igor Dekhtyarchuk, without lawful

authority, knowingly used means of identification of other persons, that is, account

holders PII, as specified below, during and in relationship to a felony enumerated in 18

U.S.C. § 1028A(c), that is, access device fraud, a violation of 18 U.S.C. § 1029:

      Co nt         Account            Type of PH Used            Date of Possession
                     Holder                                       by the Defendant
         5            A.Q.           Name, address, email             March 29, 2021
                                      address, Company A
                                       account username
         6            L.P.           Name, address, email             April 18, 2021
                                      address, Company A
                                        account username
         7            A.G.            Name, address, email            April 18, 2021
                                      address, Company A
                                        account username

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        8           C.C.            Name, address, email   April 18, 2021
                                    address, Company A
                                     account username
        9           C.H.            Name, address, email   April 18, 2021
                                    address, Company A
                                     account username
       10           Z.M.        Name, address, email       April 18, 2021
                                    address, Company A
                                     account username
       11          L.M.         Name, address, email       April 18, 2021
                                    address, Company A
                                     account username
       12           G.K.        Name, address, email       April 19, 2021
                                    address, Company A
                                     account username
       13           V.C.        Name, address, email       April 22, 2021
                                    address, Company A
                                     account username
       14           D.H.        Name, address, email       April 22, 2021
                                    address, Company A
                                     account username
       15           S.A.        Name, address, email       April 22, 2021
                                    address, Company A
                                     account username
       16           L.D.        Name, address, email       April 30, 2021
                                    address, Company A
                                     account username
       17           E.J.        Name, address, email       June 3, 2021
                                    address, Company A
                                     account username
       18           B.S.        Name, address, email       June 3, 2021
                                    address. Company A
                                     account username
       19           D.S.        Name, address, email       June 3, 2021
                                    address, Company A
                                     account username
       20           S.A.        Name, address, email       June 9, 2021
                                    address. Company A
                                     account username
       21           J.F.        Name, address, email       June 9, 2021
                                    address, Company A
                                     account username


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        22           S.C.          Name, address, email    June 9, 2021
                                      address, Company A
                                       account username
        23           S.F.          Name, address, email    June 21, 2021
                                      address, Company A
                                       account username
        24           C.C.          Name, address, email    June 25, 2021
                                      address, Company B
                                       account username
        25           J.Q.          Name, address, email    June 25, 2021
                                      address, Company B
                                       account username
        26           K.S.          Name, address, email    June 25, 2021
                                      address, Company B
                                       account username
        27          A.B.           Name, address, email    July 15,2021
                                      address, Company D
                                       account username
        28          B.M.           Name, address, email    July 15,2021
                                      address, Company D
                                       account username
        29          K.B.           Name, address, email    July 15, 2021
                                      address, Company D
                                       account username
        30           J.J.          Name, address, email    July 15,2021
                                      address, Company D
                                       account username

             All in violation of 18 U.S.C. § 1028A.




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             NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE
      Pursuant to 18 U.S.C. 1028(b), 1029(c)(1)(C), and 982(a (2 and (a)(2)(B)

        As a result of committing the offenses as alleged in this Indictment, defendant shall

 forfeit to the United States pursuant to 18 U.S.C. §§ 1028(b), 1029(c)(1)(C), and 982(a)(2)

 and (a)(2)(B) any and all property, real or personal, involved in or traceable to properly

 involved in the offense, including proceeds obtained directly or indirectly from the offense,

 and the following:

        Cash Proceeds

        A sum of money equal to $200,000.00 in United States currency, and all interest
        and proceeds traceable thereto, representing the amount of proceeds obtained by
        defendant as a result of the offenses alleged in this Indictment, for which the
        defendant is personally liable.

        Substitute Assets

        If any property subject to forfeiture, as a result of any act or omission by defendant:

        (a) cannot be located upon the exercise of due diligence;
        (b) has been transferred or sold to, or deposited with a third party;
        (c) has been placed beyond the jurisdiction of the court;
        (d) has been substantially diminished in value; or
        (e) has been commingled with other property which cannot be subdivided
               without difficulty,

 it is the intent of the United States, pursuant to 21 U.S.C. § 853 (p), to seek forfeiture of any

 other property of defendant up to the value of the above forfeitable property, including but

 not limited to all property, both real and personal, owned by defendant.

        By virtue of the commission of the felony offenses charged in this Indictment, any

 and all interest defendant has in the above-described property is vested in the United States




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 and hereby forfeited to the United States pursuant to 18 U.S.C. §§18 U.S.C. §§ 1028(b),

 1029(c)(1)(C), and 982(a)(2) and (a)(2)(B).



 A TRUE BILL




                                                      GRAND JUI Y FOREPERSON


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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                             TYLER DIVISION

 UNITED STATES OF AMERICA §
                                      §
 V.                                   § NO: 6:22-CR-
                                      § JUDGE
 IGOR DEKHTYARCHUK                    §
                            NOTICE OF PENALTY

                                 COUNT ONE

 VIOLATION:                   18U.S.C. § 1343 -Wire Fraud

 PENALTY:                     Imprisonment of not more than twenty (20) years; the
                              greater of a fine not to exceed $250,000, a fine not to
                              exceed two times the gross gain to the Defendant, or a
                              fine not to exceed two times the loss to the victim, or
                              both such imprisonment and fine; and a term of
                              supervised release of not more than three (3) years.

 SPECIAL ASSESSMENT:          $100.00

                            COUNTS TWO - FOUR

 VIOLATION:                   18 U.S.C. § 1029 - Access Device Fraud

PENALTY:                      Imprisonment of not more than ten (10) years; the
                              greater of a fine not to exceed $250,000, or both such
                              imprisonment and fine; and a term of supervised
                              release of not more than three (3) years.

 SPECIAL ASSESSMENT:          $100.00 each count

                           COUNTS FIVE - THIRTY

VIOLATION:                    18 U.S.C. § 1028A-Aggravated Identity Theft

PENALTY:                      Imprisonment of not less than two (2) years and a fine
                              of $250,000 to be followed by not more than one (1)
                              year of supervised release. This sentencing is to run

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                                consecutively to any other sentence imposed. A
                                person convicted of a violation of this section shall not
                                be placed on probation.

 SPECIAL ASSESSMENT:            $100.00 each count




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